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           18
                                                      UNITED STATES DISTRICT COURT
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                                                   NORTHERN DISTRICT OF CALIFORNIA
           20

           21
                   ELIZABETH A. BALLY, Individually and On           CASE NO. 3:18-CV-04954-CRB
           22      Behalf Of All Others Similarly Situated,
           23                                 Plaintiffs,
                                                                     DECLARATION OF AMY PRESTEGAARD
           24               v.
           25      STATE FARM LIFE INSURANCE
                   COMPANY,
           26
                                              Defendant.
           27

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Crutcher LLP
                                       DECLARATION OF AMY PRESTEGAARD – CASE NO. 3:18-CV-04954-CRB
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               1                                   DECLARATION OF AMY PRESTEGAARD
               2            I, Amy Prestegaard, have personal knowledge of the information below and declare as
               3   follows:
               4            1.       I am currently a Life/Health New Business and Service Director for State Farm Mutual
               5   Automobile Insurance Company, with a primary focus on life/health underwriting. In this role, I have
               6   responsibilities for underwriting philosophy and guidelines, underwriting manuals, and underwriting
               7   quality. I first joined State Farm in March 1998 as a life insurance underwriter, and have worked for
               8   nearly 23 years as an underwriter, underwriting supervisor, underwriting analyst, Life/Health
               9   Underwriting Manager, and Life/Health Underwriting Director. During my career, I have earned
           10      several professional designations. I am a Fellow of the Academy of Life Underwriting (FALU), a
           11      Chartered Life Underwriter (CLU), and a Fellow of the Life Management Institute (FLMI). In addition,
           12      I have been involved in two leading industry groups, the Association of Home Office Underwriters
           13      (AHOU) and the American Council of Life Insurers (ACLI). From 2015 to 2020, I served on the
           14      AHOU Executive Council, and I served a term as AHOU President from 2018 to 2019. I have been
           15      involved with the ACLI Risk Classification Committee as a voting member from 2017 to 2020, and as
           16      an interested party in 2021.
           17               2.       I understand that this lawsuit involves claims against State Farm relating to Universal
           18      Life Insurance plan issued on Form 94030 (“the Policy” or “Universal Life”)—a product that State
           19      Farm offered from 1994 to 2004. I have experience underwriting what I estimate to be thousands of
           20      Universal Life policies during the period from 1994 to 2004.
           21               3.       I understand that the current litigation involves a provision in the Universal Life Policy
           22      that states that an Insured’s cost of insurance rate is “based on the insured’s age at the policy
           23      anniversary, sex, and applicable rate class.” I understand this language to refer to the process by which
           24      a rate is assigned to an individual insured, not the process by which State Farm develops its underlying
           25      rate schedule for cost of insurance charges. Consistent with this language, and during the relevant time
           26      period, each Insured’s monthly cost of insurance rate would be based on the three listed factors—that
           27      Insured’s age at each anniversary of the Insured’s purchase of the policy, the Insured’s sex, and the
           28      Insured’s rate class as determined through the underwriting process. A critical driver of rate class is

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               1   the distinction between adult Insureds who use tobacco and those who do not. All adult insureds are
               2   divided into Tobacco or Non-Tobacco rate classes, and then may be assigned other rate class
               3   distinctions depending on other health characteristics discussed below.
               4            4.       Although my specialty is underwriting, I have a general understanding of the role of
               5   State Farm independent contractor agents in the application process. At all relevant times, the
               6   application process generally preceded the involvement of underwriting, and I and those underwriting
               7   employees who I supervised interacted with State Farm agents and State Farm customers during the
               8   application and underwriting process for Universal Life policies. During the relevant time, State Farm
               9   agents were responsible for the initial interface with customers when the customer was deciding
           10      whether to purchase insurance and what type and amount of insurance they might choose to purchase.
           11      An agent typically would discuss with each customer that customer’s insurance needs, finances, and
           12      objectives and provide information to customers about their options so that the customer could choose
           13      whether to purchase a life insurance product from State Farm.
           14               5.       During the relevant time, when a customer expressed interest in applying for a Universal
           15      Life policy, State Farm agents would gather initial information about the customer’s age, sex, and likely
           16      rate class. As discussed in more detail below, State Farm at all relevant times used the customer’s
           17      individual age at the policy anniversary, sex, and applicable rate class to assign each customer’s cost
           18      of insurance rate from State Farm’s rate tables for this Policy.
           19               6.       After collecting initial information about the customer’s age, sex, tobacco use, and other
           20      health characteristics bearing on the customer’s likely rate class, the State Farm agent would prepare
           21      an illustration of ways in which the product might perform for that customer over the customer’s
           22      lifetime and upon his or her death, depending on the customer’s choices about how much premium to
           23      pay and other inputs. The State Farm agent would typically determine and share with the customer
           24      what likely rate class would be used for that customer in selecting his or her cost of insurance rate from
           25      the rate tables. The State Farm agent would do so using preliminary information provided by the
           26      customer bearing on likely rate class, together with that customer’s age and sex, from which
           27      information the State Farm agent could determine what that customer’s monthly cost of insurance rate
           28      would likely be using the rate tables for this Policy developed and provided to the agents by State Farm.

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               1   During much of the relevant period, the sales process would have typically involved a physical rate
               2   book with tables identifying pre-determined cost of insurance rates based on the age, sex, and rate class.
               3   State Farm also developed an electronic system to produce illustrations that use the applicable rate
               4   class. If the customer was satisfied with the illustrated information and projected cost of insurance rate
               5   and wanted to purchase the policy, the customer would complete an application and then proceed to
               6   the underwriting process. Again, this process was followed throughout the relevant time frame.
               7            7.       At all relevant times, the primary function of the underwriting process for life insurance
               8   was to determine whether State Farm would issue a policy as applied for, make a counter-offer to
               9   provide insurance at a different applicable rate class underwriting determined was appropriate, or to
           10      decline the application. Underwriters considered a variety of individualized factors and information
           11      unique to each customer in determining insurability and assigning a rate class for Universal Life
           12      Policies. This consideration included, but was not limited to, whether the customer used tobacco and
           13      other information bearing on the customer’s health and health history, and other factors. Between 1994
           14      and 2004, customers also frequently underwent a medical examination that would include vitals, blood
           15      and urine testing, and other medical tests, such as chest X-rays or electrocardiograms when required,
           16      based on coverage amounts applied for.
           17               8.       After confirming the information provided by a customer and reviewing the results of
           18      any medical examination and other information gathered through underwriting process, State Farm’s
           19      underwriting department would make a determination about the customer’s insurability and also assign
           20      a rate class for that Insured. Again, the rate class for an adult Insured would reflect Tobacco or Non-
           21      Tobacco, as well as either a standard rate class, or a substandard rate class that might be applicable to
           22      a customer. If the additional information or considerations resulted in a different applicable rate class
           23      from the one quoted by the State Farm agent and applied for by the customer, the State Farm agent
           24      would be notified of the underwriting decision to determine the customer’s willingness to purchase the
           25      life insurance product with the adjusted applicable rate class.
           26               9.       At all relevant times, once the underwriting department assigned a final rate class, State
           27      Farm would determine the customer’s cost of insurance rate using the same rate table information
           28      referenced above—that is, State Farm’s pre-existing cost of insurance rate tables for this product.

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               1   Those tables set out the company’s cost of insurance rates in groupings organized by age, sex, and rate
               2   class, so once the customer’s rate class was established through the underwriting process, the cost of
               3   insurance rate could be readily determined based on the customer’s rate class, the customer’s sex, and
               4   the customer’s age at each policy anniversary.
               5            10.      During the relevant time period, customers sometimes had discussions with
               6   underwriters and their State Farm agent to inquire about the underwriting process for assigning an
               7   applicable rate class. I have had discussions with State Farm universal life customers about this. For
               8   instance, customers would ask what factors are considered by State Farm underwriting when assigning
               9   a rate class. When that happens, I and my colleagues would inform customers that an insured’s rate
           10      class is based on their health, health history, and other factors, as well as their age and sex. State Farm
           11      establishes these Insured-specific criteria in order to focus the underwriting process on standardized
           12      criteria for determining a customer’s applicable rate class. The Insured’s age, sex, and applicable rate
           13      class are the insured-specific factors used in assigning cost of insurance rates. State Farm applies those
           14      to the companies’ underlying cost of insurance rate structure and rate tables to determine the rate for
           15      each customer.
           16               11.      The underwriting department generally became or becomes involved when a customer
           17      wanted to increase his or her coverage under an existing Universal Life policy. If a customer has
           18      purchased a guaranteed insurability option rider that allowed them to increase the death benefit at
           19      certain intervals without additional underwriting, there would be no substantive underwriting review.
           20      Apart from this exception where a customer was not required to undergo additional underwriting,
           21      underwriting would be required for each increase in coverage under a Policy. The process for
           22      determining a rate class applicable to the additional coverage was generally the same as the process
           23      outlined above.
           24               I declare under penalty of perjury under the laws of the United States of America that the
           25      foregoing is true and correct. Executed on this 8th day of January, 2021, in Waynesville, Illinois.
           26

           27                                                              __________________________________
                                                                                      Amy Prestegaard
           28
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               1                                            SIGNATURE ATTESTATION
               2                  Pursuant to Local Rule 5.1(i)(3), I hereby attest that Amy Prestegaard, on whose behalf
               3        this filing is submitted, concurs in the document’s contents and has authorized its filing.

               4

               5        Dated: January 8, 2021

               6
                                                                     KRISTIN A. LINSLEY
               7                                                     DEBORAH L. STEIN
               8                                                     GIBSON, DUNN & CRUTCHER LLP

               9
                                                                     By: /s/ Kristin A. Linsley
           10                                                            KRISTIN A. LINSLEY

           11                                                        Attorneys for Defendant STATE FARM LIFE
                                                                     INSURANCE COMPANY
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